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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP FOR PRESIDENT,
INC.,

                Plaintiff,
                                                         No. 1:20-cv-00626-KBJ
       v.

WP COMPANY LLC, d/b/a THE
WASHINGTON POST,

                Defendant.



                         NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendant WP Company LLC, d/b/a The Washington Post, respectfully submits this

Notice of Supplemental Authority to inform the Court of the decision of the Supreme Court of

the State of New York, New York County in Donald J. Trump for President, Inc. v. The New

York Times Company, No. 152099/2020 (March 9, 2021), attached hereto. There, the Supreme

Court dismissed with prejudice a defamation claim brought by Donald J. Trump for President,

Inc., against the Times, arising out of an op-ed entitled “The Real Trump-Russia Quid Pro Quo.”

The court held that the statements at issue were nonactionable for three distinct and independent

reasons under New York law: the statements were opinion, they were not “of and concerning”

the plaintiff, and the plaintiff failed to allege facts sufficient to support a finding of actual malice.



Date: March 10, 2021                           Respectfully submitted,

                                               /s/ Kevin T. Baine

                                               Kevin T. Baine (D.C. No. 128600)
                                               Thomas G. Hentoff (D.C. No. 438394)
                                               Nicholas G. Gamse (D.C. No. 1018297)
                                               Anna Johns Hrom (D.C. No. 1657785)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2021, I electronically filed the foregoing Notice of

Supplemental Authority with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to registered CM/ECF participants.


                                                     /s/ Kevin T. Baine
                                                     Counsel for The Washington Post
